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 1                                                            THE HONORABLE BENJAMIN H. SETTLE

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
      COMMANDER EMILY SHILLING; et al.,                             No. 2:25-cv-00241 BHS
 9
                           Plaintiffs,                              DECLARATION OF MATTHEW P.
10                                                                  GORDON IN SUPPORT OF
                    v.                                              PLAINTIFFS’ MOTION FOR
11                                                                  PRELIMINARY INJUNCTION
12    DONALD J. TRUMP, in his official capacity as
      President of the United States; et al.,
13
                           Defendants.
14

15          I, Matthew P. Gordon, hereby declare as follows:
16          1.      I am an attorney with the law firm Perkins Coie LLP and counsel for Plaintiffs in
17   the above-captioned matter. I make this declaration based on personal knowledge about which I
18   am competent to testify.
19          2.      I submit this declaration to provide the Court true and correct copies of certain
20   documents submitted in support of Plaintiffs’ Motion for Preliminary Injunction.
21          3.      Attached as Exhibit 1 is a true and correct copy of Executive Order 14183, with
22   the title “Prioritizing Military Excellence and Readiness,” dated January 27, 2025, retrieved from
23   the Federal Register website at: https://www.federalregister.gov/documents/2025/02/03/2025-
24   02178/prioritizing-military-excellence-and-readiness.
25          4.      Attached as Exhibit 2 is a true and correct copy of an article by Megan Willmes
26   and Jacob M. Henry, titled “Biographies: Albert D.J. Cashier,” retrieved from the website of The
     DECLARATION OF                             Perkins Coie LLP             Lambda Legal Defense and         Human Rights Campaign
                                         1201 Third Avenue, Suite 4900          Education Fund, Inc.                Foundation
     MATTHEW P. GORDON ISO               Seattle, Washington 98101-3099       120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
     MOT. FOR PRELIM. INJ.                     Phone: 206.359.8000           New York, NY. 10005-3919          Washington, D.C. 20036
     CASE NO. 2:25-CV-00241 BHS                 Fax: 206.359.9000              Telephone: 212-809-8585        Telephone: (202) 568-5762
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 1   National Museum of the United States Army website at:

 2   https://www.thenmusa.org/biographies/albert-cashier.

 3          5.      Attached as Exhibit 3 is a true and correct copy of an article titled “Albert

 4   Cashier,” retrieved from the National Park Service website at: http://nps.gov/articles/000/albert-

 5   cashier.htm.

 6          6.      Attached as Exhibit 4 is a true and correct copy of “Remarks on Ending the Ban

 7   on Transgender Service in the U.S. Military as Delivered by Secretary of Defense Ash Carter,”

 8   dated June 30, 2016, retrieved from the U.S. Department of Defense website at:

 9   https://www.defense.gov/News/Speeches/Speech/Article/821833/remarks-on-ending-the-ban-on-

10   transgender-service-in-the-us-

11   military/#:~:text=Now%2C%20as%20a%20result%2s0of,military%20just%20for%20being%20t

12   ransgender.

13          7.      Attached as Exhibit 5 is a true and correct copy of “Transgender Service in the

14   U.S. Military: An Implementation Handbook,” dated September 30, 2016, retrieved from the

15   U.S. Department of Defense website at:

16   https://dod.defense.gov/Portals/1/features/2016/0616_policy/DoDTGHandbook_093016.pdf.

17          8.      Attached as Exhibit 6 is a is a true and correct copy of a news article by Adam

18   Edelman with the title “Trump Bans Transgender People Serving in the Military,” dated July 26,

19   2017, retrieved from the NBC News website at: https://www.nbcnews.com/politics/donald-

20   trump/trump-announces-ban-transgender-people-serving-military-n786621.

21          9.      Attached as Exhibit 7 is a true and correct copy of a news article by Laurel

22   Wamsley titled “Trump Says Transgender People Can’t Serve in the Military,” dated July 26,

23   2017, retrieved from NPR’s website at: https://www.npr.org/sections/thetwo-

24   way/2017/07/26/539470211/trump-says-transgender-people-cant-serve-in-military.

25          10.     Attached as Exhibit 8 is a true and correct copy of the Presidential Memorandum

26   for the Secretary of Defense and Secretary of Homeland Security, with the subject “Military
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            Case 2:25-cv-00241-BHS            Document 31                Filed 02/19/25           Page 3 of 6




 1   Service by Transgender Individuals,” dated August 25, 2017, retrieved from the President Trump

 2   White House archived website at: https://trumpwhitehouse.archives.gov/presidential-

 3   actions/presidential-memorandum-secretary-defense-secretary-homeland-security.

 4          11.     Attached as Exhibit 9 is a true and correct copy of the Palm Center’s August 1,

 5   2017 press release titled “Fifty-Six Retired Generals and Admirals Warn That President Trump’s

 6   Anti-Transgender Tweets, If Implemented, Would Degrade Military Readiness,” retrieved from

 7   the Palm Center website at: https://palmcenterlegacy.org/fifty-six-retired-generals-admirals-

 8   warn-president-trumps-anti-transgender-tweets-implemented-degrade-military-readiness.

 9          12.     Attached as Exhibit 10 is a true and correct copy of a Secretary of Defense

10   Memorandum for the President, with the subject “Military Service by Transgender Individuals,”

11   dated February 22, 2018, retrieved from the U.S. Department of Defense website at:

12   https://media.defense.gov/2018/mar/23/2001894037/-1/-1/0/military-service-by-transgender-

13   individuals.pdf.

14          13.     Attached as Exhibit 11 is a true and correct copy of Executive Order 14004, with

15   the title “Enabling All Qualified Americans to Serve Their Country in Uniform,” dated January

16   25, 2021, retrieved from the Federal Register website at:

17   https://www.federalregister.gov/documents/2021/01/28/2021-02034/enabling-all-qualified-

18   americans-to-serve-their-country-in-

19   uniform#:~:text=On%20the%20basis%20of%20this,the%20required%20standards%20and%20p

20   rocedures.

21          14.     Attached as Exhibit 12 is a true and correct copy of Department of Defense

22   Instruction 6130.03, with the title “Medical Standards for Military Service: Appointment,

23   Enlistment, or Induction,” dated May 28, 2024, retrieved from:

24   https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodi/613003_vol01.pdf?ver=B0u

25   hh9e1k_MDTz4PuNU8Aw%3D%3D.

26
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            Case 2:25-cv-00241-BHS            Document 31                Filed 02/19/25           Page 4 of 6




 1          15.     Attached as Exhibit 13 is a true and correct copy of Executive Order 14168, with

 2   the title “Defending Women From Gender Ideology Extremism and Restoring Biological Truth

 3   to the Federal Government,” dated January 20, 2025, retrieved from the Federal Register website

 4   at: https://www.federalregister.gov/documents/2025/01/30/2025-02090/defending-women-from-

 5   gender-ideology-extremism-and-restoring-biological-truth-to-the-federal.

 6          16.     Attached as Exhibit 14 is a true and correct copy of a Department of Defense

 7   Memorandum for Senior Pentagon Leadership Commanders of the Combatant Commands

 8   Defense Agency and DOD Field Activity Directors, with the subject “Defending Women from

 9   Gender Ideology Extremism and Restoring Biological Truth to the Federal Government,” dated

10   January 31, 2025.

11          17.     Attached as Exhibit 15 is a true and correct copy of a Department of the Air

12   Force Memorandum for All MAJCOM-FOA-DRU-FLDCOM-COCOM/CC, with the subject,

13   “Implementation of Executive Order 14168, Defending Women from Gender Ideology

14   Extremism and Restoring Biological Truth to the Federal Government,” dated February 4, 2025,

15   retrieved from the U.S. Air Force website at:

16   https://www.af.mil/Portals/1/documents/2025SAF/MR_Memo_-

17   _Defending_Women_From_Gender_Ideology.pdf

18          18.     Attached as Exhibit 16 is a true and correct copy of a Department of the Army

19   memorandum, with the subject “Implementing Guidance for Executive Order Defending

20   Women,” dated February 4, 2025, retrieved from the U.S. Army website at:

21   https://api.army.mil/e2/c/downloads/2025/02/13/1c8e9e7e/tab-a-s-implementing-guidance-for-

22   executive-order-defending-women.pdf.

23          19.     Attached as Exhibit 17 is a true and correct copy of a Secretary of Defense

24   Memorandum for Senior Pentagon Leadership, Commanders of the Combatant Commands,

25   Defense Agency and DOD Field Activity Directors, dated February 7, 2025, with the subject

26   “Prioritizing Military Excellence and Readiness.”
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            Case 2:25-cv-00241-BHS           Document 31                Filed 02/19/25           Page 5 of 6




 1          20.    Attached as Exhibit 18 is a true and correct copy of guidance by the Department

 2   of the Army, with the subject “Implementation of Executive Orders Related to Transgender

 3   Military Service,” dated February 7, 2025.

 4          21.    Attached as Exhibit 19 is a true and correct copy of a Department of Navy

 5   Decision Guidance Memorandum #N00-30, with the subject “Processing of Applicants

 6   Identifying as Transgender,” dated January 28, 2025.

 7          22.    Attached as Exhibit 20 is a true and correct copy of a news article by Danielle

 8   Kurtzleben titled “Some federal web pages still down as agencies implement order ‘defending

 9   women,’” dated February 1, 2025, retrieved from the NPR website at:

10   https://www.npr.org/2025/01/31/g-s1-45887/trump-opm-gender-ideology-defending-women-

11   websites-transgender.

12          23.    Attached as Exhibit 21 is a true and correct copy of a news article by Jo Yurcaba

13   titled “Government agencies scrub LGBTQ web pages and remove info about trans and intersex

14   people,” dated February 3, 2025, retrieved from the NBC News website at:

15   https://www.nbcnews.com/nbc-out/out-politics-and-policy/government-agencies-scrub-lgbtq-

16   web-pages-remove-info-trans-intersex-p-rcna190519.

17          24.    Attached as Exhibit 22 is a true and correct copy of a news article by Minyvonne

18   Burke titled “References to transgender and queer removed from Stonewall National

19   Monument’s web page,” dated February 14, 2025, retrieved from the NBC News website at:

20   https://www.nbcnews.com/nbc-out/out-news/references-transgender-queer-removed-stonewall-

21   monuments-webpage-rcna192204.

22          25.    Attached as Exhibit 23 is a is a true and correct copy of a news article by

23   Jonathan J. Cooper, with the title “A List of Government Web Pages That Have Gone Dark to

24   Comply With Trump Orders,” dated January 31, 2025, retrieved from the AP website at:

25   https://apnews.com/article/government-websites-changes-trump-transgender-dei-orders-

26   383fc983c6ca48804f1404cbc61ee9e9.
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            Case 2:25-cv-00241-BHS            Document 31                Filed 02/19/25           Page 6 of 6




 1          26.     Attached as Exhibit 24 is a true and correct copy of the Palm Center’s August

 2   2017 study titled “Discharging Transgender Troops Would Cost $960 Million,” retrieved from

 3   the Palm Center website at: https://palmcenterlegacy.org/wp-content/uploads/2017/08/cost-of-

 4   firing-trans-troops-3.pdf.

 5

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is

 7   true and correct.

 8          EXECUTED this 19th day of February, 2025, at Seattle, Washington.
 9
                                                               s/ Matthew P. Gordon
10                                                             Matthew P. Gordon

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